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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA
                                 SOUTHEASTERN DIVISION

Alroy James St. Claire,                         )
                                                )
                       Petitioner,              )
                                                )          ORDER FOR JUDGMENT
       vs.                                      )             AND JUDGMENT
                                                )        DENYING MOTION TO VACATE
United States of America,                       )
                                                )              Civil File No. 3:08-cv-76
                       Respondent.              )
                                                )
                                                )
United States of America,                       )
                                                )
                       Plaintiff,               )
                                                )
       vs.                                      )            Crim. File No. 3:06-cr-106-08
                                                )
Alroy James St. Claire,                         )
                                                )
                       Defendant.               )
                                                )

       Before the Court is a motion by Petitioner/Defendant Alroy James St. Claire to Vacate

this Court’s August 8, 2007 judgment, which sentenced him to 172-months imprisonment,

pursuant to 28 U.S.C. § 2255. St. Claire submitted a brief in support of the § 2255 petition.

       A prisoner in custody may move the court that imposed the sentence to vacate, set aside,

or correct that sentence on the grounds that the sentence was “imposed in violation of the

Constitution or laws of the United States, or that the court was without jurisdiction to impose

such sentence, or that the sentence was in excess of the maximum authorized by law, or is

otherwise subject to collateral attack.” 28 U.S.C. § 2255. A court should liberally construe a pro

se petition filed under this statute. Saunders v. United States, 236 F.3d 950, 953 (8th Cir. 2001).


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Unless the motion, files, and records “conclusively show that the prisoner is entitled to no

relief,” a petitioner is entitled to an evidentiary hearing on his § 2255 claim. 28 U.S.C. § 2255.

Watson v. United States, 493 F.3d 960, 963 (8th Cir. 2007).

       St. Claire’s raises two grounds upon which his motion is based: 1) Ineffective assistance

of counsel; and 2) Violation of due process.

       A one-year period of limitation applies to motions filed under § 2255. The limitation

period runs from the latest of:

              1) the date on which the judgment of conviction becomes final;
              2) the date on which the impediment to making a motion created by
       governmental action . . . is removed . . .;
              3) the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme Court and
       made retroactively applicable to cases on collateral review; or
              4) the date on which the facts supporting the claim or claims presented
       could have been discovered through the exercise of due diligence.

28 U.S.C. § 2255. St. Claire’s petition was filed less than a year after he was sentenced. It is,

therefore, timely.

       St. Claire argues that his sentence should be reduced to 120 months so that it is consistent

with the plea agreement. He argues his counsel’s failure to object to the 172-month sentence

constituted ineffective assistance of counsel.

       At the outset, the Court notes that St. Claire entered into a partial waiver of his rights to

seek post-conviction relief in his plea agreement. The plea agreement stated:

       Except for a claim of ineffective assistance of counsel, the defendant further waives
       all rights to contest defendant’s conviction or sentence in any post-conviction
       proceeding, including one pursuant to Title 28, United States Code, Section 2255.
       Defendant specifically acknowledges that the Eighth Circuit Court of Appeals has
       upheld the enforceability of a provision of this type in United States v. His Law, 85
       F.3d 379 (8th Cir. 1996). Therefore, defendant understands that any appeal or other
       post-conviction relief defendant might seek should be summarily dismissed by the

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       Court in which it is filed.


St. Claire waived his right to seek post-conviction relief on any basis except for effective

assistance of counsel. The plea agreement was signed by the defendant, and the Court discussed

this waiver with St. Claire during the change of plea hearing. Therefore, St. Claire’s due process

claim is DENIED as waived.

       St. Claire’s right to seek relief for ineffective assistance of counsel was not waived. For

an ineffective assistance of counsel claim to succeed, both parts of the Strickland test must be

met: First, the movant must show that counsel’s conduct fell below an objective standard of

reasonableness, amounting to errors so serious that he was denied “counsel” as guaranteed by the

Sixth Amendment; Second, the movant must show that absent the errors, there is a reasonable

probability that the result of the proceeding would have been different. Williams v. United

States, 452 F.3d 1009, 1012-13 (8th Cir. 2006).

       St. Claire argues counsel committed two errors: First, counsel failed to clarify St. Claire’s

parole status during the sentencing hearing; Second, counsel deceived St. Claire into believing

he was signing a plea agreement for a 120-month sentence.

       The first alleged error is completely without merit. The Court was aware that St. Claire

was not on parole at the time of the offense. No points were assigned to his criminal history

score for being on parole at the time of the offense. His parole status had no effect on the

sentence in any way.

       The second alleged error is also without merit. The plea agreement in this case

specifically stated the minimum mandatory sentence was 240 months. The Court advised the

defendant during the change of plea hearing that a 240-month minimum mandatory sentence

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would apply. On January 12, 2007, some three months prior to the change of plea hearing, the

United States filed a Notice Regarding Prior Convictions for Enhanced Sentence Pursuant to 21

U.S.C. § 851(a)(1) (Doc. #129) that specifically stated a 240-month minimum mandatory

sentence would apply if the defendant were convicted. In sum, the defendant was well-advised

of the applicable minimum mandatory.

       Moreover, even had the plea agreement entertained a 120-month sentence, the plea

agreement was not binding on the Court, as was specifically stated in paragraph 5 of the

agreement. St. Claire was advised during his change of plea hearing that the Court could give

him any sentence it saw fit. It does not appear to the Court that counsel made any errors that fell

below an objective standard of reasonableness. The defendant’s 2005 conviction for controlled

substance crime in the fifth degree triggered the 240-month minimum mandatory, and no action

by counsel or the Court could have allowed a 120-month minimum mandatory to apply.

       The petition and supporting brief, along with the entire record, conclusively show that St.

Claire is entitled to no relief on Ground One. Ground Two was waived. His motion to vacate is

therefore DENIED, and this action is DISMISSED with prejudice. In addition, the Court

certifies that an appeal from the denial of this motion may not be taken in forma pauperis

because such an appeal would be frivolous and cannot be taken in good faith. Coppedge v.

United States, 369 U.S. 438, 444-45 (1962). Dismissal of this motion is not debatable,

reasonably subject to a different outcome on appeal, or otherwise deserving of further

proceedings. Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983). Therefore, a certificate of

appealability will not be issued by this Court.

       IT IS SO ORDERED AND ADJUDGED that this petition is dismissed in its entirety.


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Dated this 16th day of September, 2008.

                                                    /s/ Ralph R. Erickson
                                              Ralph R. Erickson, District Judge
                                              United States District Court




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